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Bill Language to Implement the Report of the Mink/Bowman Neutral Expert
12/12/24


This document contains bill language designed to implement the requirements of the order by Judge
Mosman (Second Amended Order to Implement Neutral Expert’s Recommendations), issued July 2,
2023, as directed in the report submitted by the Neutral Expert to the court on November 19, 2024.

This bill language is intended to become an amendment to Oregon Health Authority’s requested LC 420,
OSH Time Limits and Restoration Placeholder. Representative Kropf has agreed to introduce this
language as an amendment (presumably pending his final review).

Note that legislators and stakeholders are discussing Aid & Assist and civil commitment on a much
broader scale. Some have proposed to expand the capacity of Oregon State Hospital, change the civil
commitment standards, create “deflection” programs to avoid commitment, and much more. In that
context, legislators are likely to consider this bill language as part of a larger potential package of
legislation.

This is in standard bill format:

    •   Plain text is existing language unchange
    •   Italics text is existing language to be removed
    •   Bold text is new language to be added

The comments by Matthew Green (me) are annotations to explain what each change does, with
language on the topic from the report.



ORS 161.355 – Definitions
As used in ORS 161.355 (Definitions) to 161.371 (Procedures upon commitment of defendant):

(1 )“Certified evaluator” has the meaning given that term in ORS 161.309 (Notice of mental defense).

(2) “Community restoration services” means services and treatment necessary to safely allow a
defendant to gain or regain fitness to proceed in the community, which may include supervision by
pretrial services.

(3) “Hospital level of care” means that a defendant requires the type of care provided by an inpatient
hospital in order to gain or regain fitness to proceed.

(4) “Public safety concerns” means that the defendant presents a risk to self or to the public if not
hospitalized or in custody.

(5) “Person misdemeanor” includes:                                                                         Commented [MG1]: Later sections will refer back to this
                                                                                                           definition.
        (a) ORS 162.315 (Resisting arrest) Resisting Arrest; ORS 163.160 (Assault in the fourth degree)
        Assault IV; ORS 163.187 (Strangulation) Strangulation; ORS 163.190 (Menacing) Menacing;
        ORS 163.195 (Recklessly endangering another person) Recklessly Endanger Another; ORS
        163.200 (Criminal mistreatment in the second degree) Criminal Mistreatment II; ORS 163.212




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      (Unlawful use of an electrical stun gun, tear gas or mace in the second degree) Use of Stun
      Gun, Tear Gas, Mace II; ORS 163.415 (Sexual abuse in the third degree) Sexual Abuse III; ORS
      163.454 (Custodial sexual misconduct in the second degree) Custodial Sexual Misconduct in
      the Second Degree; ORS 163.465 (Public indecency) Public Indecency; ORS 163.467 (Private
      indecency) Private Indecency; ORS 163.472 (Unlawful dissemination of an intimate image)
      Unlawful Dissemination of Intimate Image; ORS 163.476 (Unlawfully being in a location where
      children regularly congregate) Unlawfully Being in a Location Where Children Regularly
      Congregate; ORS 163.545 (Child neglect in the second degree) Child Neglect II; ORS 163.575
      (Endangering the welfare of a minor) Endanger Welfare of Minor; ORS 163.687 (Encouraging
      child sexual abuse in the third degree) Encouraging Child Sex Abuse III; ORS 163.700 (Invasion
      of personal privacy in the second degree) Invasion of Personal Privacy II; ORS 163.709
      (Unlawful directing of light from a laser pointer) Unlawfully Directing a Laser Pointer; ORS
      163.732 (Stalking)(1) Stalking; ORS 163.750 (Violating a court’s stalking protective order)(1)
      Violating Court’s Stalking Order; ORS 165.572 (Interference with making a report) Interfering
      with Making a Police Report; ORS 165.815 (Criminal impersonation) Criminal Impersonation;
      ORS 166.065 (Harassment)(4) Harassment/Offensive Sexual Contact; ORS 166.155 (Bias crime
      in the second degree) Bias Crime II; ORS 166.385 (Possession of hoax destructive device)(2)
      Misdemeanor Possession of a Hoax Destructive Device; ORS 167.054 Furnishing Sexually
      Explicit Material to a Child; ORS 475.910 (Application of controlled substance to the body of
      another person)(4) Unlawful Administration of a Controlled Substance; ORS 609.990
      (Penalties for ORS 609.060, 609.095, 609.098, 609.100, 609.169 and 609.405)(3)(a)
      Maintaining Dangerous Dog; ORS 811.060 (Vehicular assault) Vehicular Assault; ORS 813.010
      (Driving under the influence of intoxicants), Driving Under the Influence of Intoxicants (as
      provided in OAR 213-004-0009 (Prior ORS 813.010 (DUII) Convictions)); ORS 837.374 (Reckless
      interference with aircraft)(2) and (3) Unlawful Interference with Aircraft (if aircraft manned at
      time of offense); and attempts or solicitations to commit any Class C person felonies as
      defined in section (14) of this rule; or                                                            Commented [MG2]: This list is from OAR 213-003-
                                                                                                          0001(15). The court order simply referenced the rule, but
      (b) Violation of:                                                                                   statute cannot do that, so legislative counsel will need to
                                                                                                          write the final bill language to properly reference these.
              (A) An Extreme Risk Protective Order entered under ORS 166.525 et seq.

              (B) A Family Abuse Prevention Act Restraining Order entered under ORS 107.700 et
              seq.

              (C) An Elderly Persons and Persons with Disabilities Abuse Prevention Act Restraining
              Order under ORS 124.005 et seq.;

              (D) A Sexual Abuse Restraining Order under ORS 163.760 et seq.; or

              (E) An Emergency Protection Order under ORS 133.035.                                        Commented [MG3]: Again, this is how the court order
                                                                                                          referenced these violations, but legislative counsel will need
                                                                                                          to write the proper final bill language.

ORS 161.370 – Determination of fitness to proceed
(1)




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      (a) When the defendant’s fitness to proceed is drawn in question, the issue shall be determined
      by the court.

      (b) If neither the prosecuting attorney nor counsel for the defendant contests the finding of the
      report filed under ORS 161.365 (Procedure for determining issue of fitness to proceed), the
      court may make the determination on the basis of the report. If the finding is contested, the
      court shall hold a hearing on the issue. If the report is received in evidence in the hearing, the
      party who contests the finding has the right to summon and to cross-examine any certified
      evaluator who submitted the report and to offer evidence upon the issue. Other evidence
      regarding the defendant’s fitness to proceed may be introduced by either party.

(2)

      (a) If the court determines that the defendant lacks fitness to proceed, the criminal proceeding
      against the defendant shall be suspended and the court shall proceed in accordance with this
      subsection.

      (b) After making the determination under paragraph (a) of this subsection, the court shall
      receive a recommendation from a community mental health program director or the director’s
      designee, and from any local entity that would be responsible for treating the defendant if the
      defendant were to be released in the community, concerning whether appropriate community
      restoration services are present and available in the community.

      (c) If the parties agree as to the appropriate action under this section, the court may, after
      making all findings required by law, enter any order authorized by this section. If the parties do
      not agree as to the appropriate action, the court and the parties shall, at a hearing, consider an
      appropriate action in the case, and the court shall make a determination and enter an order
      necessary to implement the action. In determining the appropriate action, the court shall
      consider the primary and secondary release criteria as defined in ORS 135.230 (Definitions for
      ORS 135.230 to 135.290), the least restrictive option appropriate for the defendant, the needs
      of the defendant and the interests of justice. Actions may include but are not limited to:

              (A) Commitment for the defendant to gain or regain fitness to proceed under subsection
              (3) or (4) of this section;

              (B) An order to engage in community restoration services, as recommended by the
              community mental health program director or designee, under subsection (6) of this
              section;

              (C) Commencement of a civil commitment proceeding under ORS 426.070 (Initiation) to
              426.170 (Delivery of certified copy of record), 426.701 (Commitment of “extremely
              dangerous” person with qualifying mental disorder) or 427.235 (Notice to court of need
              for commitment) to 427.290 (Determination by court of need for commitment);

              (D) Commencement of protective proceedings under ORS chapter 125; or

              (E) Dismissal of the charges pursuant to ORS 135.755 (Dismissal on motion of court or
              district attorney).




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      (d) If the court, while considering or ordering an appropriate action under this subsection, does
      not order the defendant committed to a state mental hospital or other facility, but finds that
      appropriate community restoration services are not present and available in the community, for
      any defendant remaining in custody after such determination, the court shall set a review
      hearing seven days from the date of the determination under paragraph (a) of this subsection.
      At the review hearing, the court shall consider all relevant information and determine if
      commitment to the state mental hospital or other facility is appropriate under subsection (3) or
      (4) of this section, or if another action described in paragraph (c) of this subsection is
      appropriate. At the conclusion of the hearing the court shall enter an order in accordance with
      the defendant’s constitutional rights to due process.

      (e) If the court determines that the appropriate action in the case is an order for the defendant
      to engage in community restoration services, but the defendant has a pending criminal case,
      warrant or hold in one or more other jurisdictions, the other jurisdictions shall, within two
      judicial days of becoming aware of the proceeding under this section, communicate with the
      court and the other jurisdictions, if applicable, to develop a plan to address the interests of all
      jurisdictions in the defendant in a timely manner.

(3)

      (a) If the most serious offense in the charging instrument is a felony, the court shall commit the
      defendant to the custody of the superintendent of a state mental hospital or director of a facility
      designated by the Oregon Health Authority if the defendant is at least 18 years of age, or to the
      custody of the director of a secure intensive community inpatient facility designated by the
      authority if the defendant is under 18 years of age, if the court makes the following findings:

              (A) The defendant requires a hospital level of care due to public safety concerns if the
              defendant is not hospitalized or in custody or the acuity of symptoms of the defendant’s
              qualifying mental disorder; and

              (B) Based on the findings resulting from a consultation described in ORS 161.365
              (Procedure for determining issue of fitness to proceed) (1), if applicable, from any
              information provided by community-based mental health providers or any other
              sources, and primary and secondary release criteria as defined in ORS 135.230
              (Definitions for ORS 135.230 to 135.290), the appropriate community restoration
              services are not present and available in the community.

      (b) If the defendant is committed under this subsection, the community mental health program
      director, or director’s designee, shall at regular intervals, during any period of commitment,
      review available community restoration services and maintain communication with the
      defendant and the superintendent of the state mental hospital or director of the facility in order
      to facilitate an efficient transition to treatment in the community when ordered.

      (c) If the court does not order the commitment of the defendant under this subsection, the
      court shall proceed in accordance with subsection (2)(c) of this section to determine and order
      an appropriate action other than commitment.

(4)




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(a) If the most serious offense in the charging instrument is a person misdemeanor, the court         Commented [MG4]: This keeps people charged with a
may not commit the defendant to the custody of the superintendent of a state mental hospital          person misdemeanor eligible for admission to OSH. The next
                                                                                                      part makes people charged with a non-person misdemeanor
or director of a facility designated by the Oregon Health Authority if the defendant is at least 18   ineligible.
years of age, or if the most serious offense in the charging instrument is a misdemeanor, the
court may not commit the defendant to the custody of the director of a secure intensive               Commented [MG5]: This change is necessary to keep the
community inpatient facility designated by the authority if the defendant is under 18 years of        law regarding youth the same, in that any misdemeanor still
                                                                                                      makes them eligible for admission to a secure facility.
age, unless the court:
                                                                                                      Without this , the new rule for adults regarding person
                                                                                                      misdemeanors would also apply to youth, which is not an
        (A)                                                                                           element of the court order.
                (i) Receives a recommendation from a certified evaluator that the defendant
                requires a hospital level of care due to the acuity of symptoms of the
                defendant’s qualifying mental disorder; and

                (ii) Receives a recommendation from a community mental health program
                director, or director’s designee, that the appropriate community restoration
                services are not present and available in the community; or

        (B) Determines that the defendant requires a hospital level of care after making all of
        the following written findings:

                (i) The defendant needs a hospital level of care due to the acuity of the
                symptoms of the defendant’s qualifying mental disorder;

                (ii) There are public safety concerns; and

                (iii) The appropriate community restoration services are not present and
                available in the community.

(b) If at the time of determining the appropriate action for the case, the court is considering
commitment under paragraph (a)(A) of this subsection and:

        (A) Has not received a recommendation from a certified evaluator as to whether the
        defendant requires a hospital level of care due to the acuity of symptoms of the
        defendant’s qualifying mental disorder, the court shall order a certified evaluator to
        make such a recommendation.

        (B) Has not received a recommendation from the community mental health program
        director or designee concerning whether appropriate community restoration services
        are present and available in the community, the court shall order the director or
        designee to make such a recommendation.

(c) If the court does not order the commitment of the defendant under this subsection, the
court shall proceed in accordance with subsection (2)(c) of this section to determine and order
an appropriate action other than commitment.

(d) If the defendant is committed under this subsection, the community mental health program
director, or director’s designee, shall at regular intervals, during any period of commitment,
review available community restoration services and maintain communication with the




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       defendant and the superintendent of the state mental hospital or director of the facility in order
       to facilitate an efficient transition to treatment in the community when ordered.

(5) If the most serious offense in the charging instrument is a violation or a misdemeanor other than a
person misdemeanor, the court may not commit the defendant to the custody of the superintendent of          Commented [MG6]: This makes persons charged with
a state mental hospital or director of a facility designated by the Oregon Health Authority if the          non-person misdemeanors, and no more serious charge,
                                                                                                            ineligible for admission to OSH. Pinals report: “Individuals
defendant is at least 18 years of age, or if the most serious offense in the charging instrument is a       whose most serious charge is a non-person misdemeanor
violation, the court may not commit the defendant to the custody of the director of a secure intensive      are not eligible for restoration at OSH.”
community inpatient facility designated by the authority if the defendant is under 18 years of age.         Commented [MG7]: Again, this is necessary to prevent
                                                                                                            the new rule relating to adults from also applying to youth.
(6)

       (a) If the court does not order the commitment of the defendant under subsection (3) or (4) of
       this section, if commitment is precluded under subsection (5) of this section or if the court
       determines that care other than commitment would better serve the defendant and the
       community, the court shall release the defendant, pursuant to an order that the defendant
       engage in community restoration services, until the defendant has gained or regained fitness to
       proceed, or until the court finds there is no substantial probability that the defendant will,
       within the [foreseeable future] time remaining for restoration within the maximum time
       period established in subsection (7) of this section, gain or regain fitness to proceed. The court   Commented [GM*8]: This changes the vague
                                                                                                            “foreseeable future” standard to instead align with the
       may not order the defendant to engage in community restoration services in another county            maximums set below. Pinals report: “Currently, the statute
       without permission from the other county.                                                            requires that a forensic evaluator opine on whether an
                                                                                                            individual can be restored in “the foreseeable future.” This is
       (b) If the court has previously ordered the commitment of the defendent under subsection (3)         generally interpreted so broadly as to be the indefinite
       or (4) of this section, the court may subsequently order that the defendant engage in                future, leading to repeated forensic opinions that the
                                                                                                            individual is not presently able to aid and assist their
       community restoration services if and only if a forensic evaluation indicates there is a             attorney, even for individuals who have not substantially
       substantial probability that additional restoration efforts will restore the defendant.              responded to treatment or are unlikely to respond more
                                                                                                            substantially given more time or a different treatment. In an
       (c) The [court may order a] community mental health program director coordinating the                earlier report, Dr. Pinals has already recommended a change
       defendant’s treatment in the community [to provide the court with status reports on the              to the statutory language such that evaluators are required
                                                                                                            to opine about whether the defendant can be restored
       defendant’s progress in gaining or regaining fitness to proceed. The director shall provide a        within the time available for restoration.”
       status report if the defendant is not complying with court-ordered restoration services.] shall
                                                                                                            Commented [GM*9]: This part sets a standard for placing
       cause the defendant to be evaluated and shall notify the court regarding the defendant in the        a patient in community restoration after commitment to
       same manner and within the same timelines as required of the superintendent of a state               OSH. Pinals resport: “A patient at OSH may be placed in
       mental hospital or director of a facility to which the defendant is committed are required to        community restoration following OSH admission only if a
                                                                                                            forensic evaluation indicates there is a substantial
       do so under ORS 161.371.                                                                             probability that additional restoration efforts will restore the
                                                                                                            patient.”
       [(c)] (d) A community mental health program director coordinating the defendant’s treatment in
       the community shall notify the court if the defendant gains or regains fitness to proceed. The       Commented [MG10]: Removing this phrase makes the
                                                                                                            evaluation and reporting on community restoration
       notice shall be filed with the court and may be filed electronically. The clerk of the court shall   mandatory, not optional. This is necessary to make the new
       cause copies of the notice to be delivered to both the district attorney and the counsel for the     requirements in this paragraph make sense.
       defendant.                                                                                           Commented [MG11]: This part applies the same
                                                                                                            evaluation and reporting requirements that exist for
       [(d)] (e) When a defendant is ordered to engage in community restoration services under this         commitment to community restoration also. Pinals report:
       subsection, the court may place conditions that the court deems appropriate on the release,          “There is currently no statutory requirement for individuals
       including the requirement that the defendant regularly report to a state mental hospital or a        in CR to be evaluated for competency to stand trial. Dr.
                                                                                                            Pinals will recommend establishing requirements equivalent
                                                                                                            to the existing requirements for evaluation for OSH
                                                                                                            inpatients.”




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       certified evaluator for examination to determine if the defendant has gained or regained fitness
       to proceed.

(7) If the defendant is at least 18 years of age, the maximum time period authorized for restoration
described in this section is as follows:                                                                  Commented [MG12]: This subsection sets the restoration
                                                                                                          limits for adults in both commitment and community
       (a) If the most serious offense in the charging instrument is a violation or a misdemeanor         restoration. Note that these limits are for adults only, as the
       other than a person misdemeanor, the maximum time period is 90 days in community                   court order did not address youth. Pinals report:
                                                                                                          “Restoration limits for OSH and CR are therefore proposed
       restoration services.                                                                              as follows:" [See table on page 32 of report]
       (b) If the most serious offense in the charging instrument is a person misdemeanor, the
       maximum time period is:

               (A) A maximum of 90 days in commitment and a subsequent maximum of 90 days in
               community restoration services; or

               (B) A maximum of 90 days in community restoration services.

       (c) If the most serious offense in the charging instrument is a felony, the maximum time
       period is:

               (A) A maximum of 180 days in commitment and a subsequent maximum of 90 days in
               community restoration services; or

               (B) A maximum of 180 days in community restoration services.

       (d) Notwithstanding paragraph (c) of this subsection, if the most serious offense in the
       charging instrument is a aggravated murder or a crime listed in ORS 137.700 (2), the maximum       Commented [GM*13]: This subsection applies the longer
       time period is:                                                                                    time periods to violent felonies, using the existing definition
                                                                                                          from ORS 160.371. The subsection (C) above therefore
               (A) A maximum of 360 days in commitment and a subsequent maximum of 180 days in            applies to all other – i.e., non-violent – felonies. Writing it
                                                                                                          this way avoids the need to separately define non-violent
               community restoration services; or                                                         felonies.
               (B) A maximum of 360 days in community restoration services.

       (e) Notwithstanding paragraphs (a) through (d) of this subsection, the maximum time period
       in commitment and community restoration services combined may be no longer than a period
       of time equal the maximum sentence the court could have imposed if the defendant had been
       convicted.

       (f) For purposes of calculating the maximum period of commitment described in this
       subsection:

               (A) The initial custody date is the date on which the defendant is first committed
               under this section on any charge alleged in the accusatory instrument; and

               (B) The defendant shall be given credit against each charge alleged in the accusatory
               instrument:




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                        (i) For each day the defendant is committed under this section, whether the
                        days are consecutive or are interrupted by a period of time during which the
                        defendant has gained or regained fitness to proceed; and

                        (ii) Unless the defendant is charged on any charging instrument with
                        aggravated murder or a crime listed in ORS 137.700(2), for each day the
                        defendant is held in jail before and after the date the defendant is first
                        committed, whether the days are consecutive or are interrupted by a period
                        of time during which the defendant lacks fitness to proceed.                          Commented [GM*14]: This language was moved here
                                                                                                              from ORS 161.731 without substantive change. That ORS set
(8) The Oregon Health Authority shall establish by rule standards for the recommendation provided to          time limits only for commitment, not community
the court described in subsection (2) of this section. [1971 c.743 §52; 1975 c.380 §5; 1993 c.238 §3;         restoration. All the time limits discussion has been collected
                                                                                                              here, so that it can address both commitment and
1999 c.931 §§1,2; 2005 c.685 §6; 2009 c.595 §107; 2011 c.508 §1; 2011 c.724 §8; 2015 c.130 §2; 2017           community restoration.
c.49 §1; 2017 c.233 §3; 2017 c.628 §1; 2017 c.634 §16; 2019 c.311 §5; 2019 c.318 §2; 2019 c.538 §2a;
2021 c.395 §7]



ORS 161.371 – Procedures upon commitment of defendant

(1) The superintendent of a state mental hospital or director of a facility to which the defendant is
committed under ORS 161.370 shall cause the defendant to be evaluated within 60 days from the
defendant’s delivery into the superintendent’s or director’s custody, for the purpose of determining
whether there is a substantial probability that, in the [foreseeable future] time remaining for
restoration within the maximum time period established in ORS 160.370(7), the defendant will have             Commented [MG15]: Same change as above.
fitness to proceed. In addition, the superintendent or director shall:

        (a) Immediately notify the committing court if the defendant, at any time, gains or regains
        fitness to proceed or if there is no substantial probability that, within the [foreseeable future]
        time remaining for restoration within the maximum time period established in subsection (7)           Commented [MG16]: Same change as above.
        of this section, the defendant will gain or regain fitness to proceed.

        (b) Within 90 days of the defendant’s delivery into the superintendent’s or director’s custody,
        notify the committing court that:

                (A) The defendant has present fitness to proceed;

                (B) There is no substantial probability that, in the [foreseeable future] time remaining
                for restoration within the maximum time period established in ORS 160.370(7), the             Commented [MG17]: Same change as above.
                defendant will gain or regain fitness to proceed; or

                (C) There is a substantial probability that, in the [foreseeable future] time remaining for
                restoration within the maximum time period established in ORS 160.370(7), the                 Commented [MG18]: Same change as above.
                defendant will gain or regain fitness to proceed. If the probability exists, the
                superintendent or director shall give the court an estimate of the time in which the
                defendant, with appropriate treatment, is expected to gain or regain fitness to proceed.




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      (c) Notify the court if court-ordered involuntary medication is necessary for the defendant to
      gain or regain fitness to proceed and, if appropriate, submit a report to the court under ORS
      161.372 (Involuntary administration of medication for fitness to proceed).

(2)

      (a) If the superintendent of the state mental hospital or director of the facility to which the
      defendant is committed determines that there is a substantial probability that, in the
      [foreseeable future] time remaining for restoration within the maximum time period
      established in ORS 160.370(7), the defendant will gain or regain fitness to proceed, unless the      Commented [MG19]: Same change as above.
      court otherwise orders, the defendant shall remain in the superintendent’s or director’s custody
      where the defendant shall receive treatment designed for the purpose of enabling the
      defendant to gain or regain fitness to proceed. In keeping with the notice requirement under
      subsection (1)(b) of this section, the superintendent or director shall, for the duration of the
      defendant’s period of commitment, submit a progress report to the committing court,
      concerning the defendant’s fitness to proceed, at least once every 180 days as measured from
      the date of the defendant’s delivery into the superintendent’s or director’s custody.

      (b) A progress report described in paragraph (a) of this subsection may consist of an update to:

              (A) The original examination report conducted under ORS 161.365; or

              (B) An evaluation conducted under subsection (1) of this section, if the defendant did
              not receive an examination under ORS 161.365.

(3)

      (a) Notwithstanding subsection (2) of this section, if the most serious offense in the charging
      instrument is a felony, and the superintendent of the state mental hospital or director of the
      facility to which the defendant is committed determines that a hospital level of care is no longer
      necessary due to present public safety concerns and the acuity of symptoms of the defendant’s
      qualifying mental disorder, the superintendent or director may file notice of the determination
      with the court. Upon receipt of the notice, the court shall order that a community mental health
      program director or the director’s designee, within five judicial days:

              (A) Consult with the defendant and with any local entity that would be responsible for
              providing community restoration services, if the defendant were to be released in the
              community, to determine whether community restoration services are present and
              available in the community; and

              (B) Provide the court and the parties with recommendations from the consultation.

      (b) Notwithstanding subsection (2) of this section, if the most serious offense in the charging
      instrument is a felony, and the community mental health program director determines that
      community restoration services that would mitigate any risk posed by the defendant are present
      and available in the community, the community mental health program director may file notice
      of the determination with the court. Upon receipt of the notice, the court shall order that the
      superintendent of the state mental hospital or director of the facility to which the defendant is
      committed, within five judicial days:




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              (A) Evaluate the defendant to determine whether a hospital level of care is no longer
              necessary due to present public safety concerns, or no longer necessary due to the
              acuity of symptoms of the defendant’s qualifying mental disorder; and

              (B) Provide the court and the parties with recommendations from the evaluation.

      (c) Within 10 judicial days of receiving the recommendations described in paragraph (a) or (b) of
      this subsection, the court shall hold a hearing to determine an appropriate action in accordance
      with ORS 161.370(2)(c) as follows:

              (A) If, after consideration of the factors and possible actions described in ORS
              161.370(2)(c) and any recommendations received under paragraph (a) or (b) of this
              subsection, the court determines that a hospital level of care is necessary due to public
              safety concerns or the acuity of symptoms of the defendant’s qualifying mental
              disorder, and that based on the consultation or evaluation described in paragraph (a) or
              (b) of this subsection, any information provided by community-based mental health
              providers or any other sources, primary and secondary release criteria as defined in ORS
              135.230 (Definitions for ORS 135.230 to 135.290), and any other information the court
              finds to be trustworthy and reliable, the appropriate community restoration services are
              not present and available in the community, the court may continue the commitment of
              the defendant.

              (B) If the court does not make the determination described in subparagraph (A) of this
              paragraph, the court shall terminate the commitment and shall set a review hearing
              seven days from the date of the commitment termination for any defendant remaining
              in custody. At the review hearing, the court shall consider all relevant information,
              determine an appropriate action in the case as described in ORS 161.370(2)(c) and enter
              an order in accordance with the defendant’s constitutional rights to due process.

(4)

      (a) Notwithstanding subsection (2) of this section, if the most serious offense in the charging
      instrument is a person misdemeanor, and the superintendent of the state mental hospital or          Commented [MG20]: This is changed here for clarity, as
      director of the facility to which the defendant is committed determines that the defendant no       non-person misdemeanors are no longer eligible for
                                                                                                          commitment.
      longer needs a hospital level of care due to the acuity of symptoms of the defendant’s qualifying
      mental disorder or there are not present public safety concerns, the superintendent or director
      shall file notice of the determination with the court, along with recommendations regarding the
      necessary community restoration services that would mitigate any risk presented by the
      defendant. Upon receipt of the notice, the court shall order that a community mental health
      program director or the director’s designee, within five judicial days:

              (A) Consult with the defendant and with any local entity that would be responsible for
              providing community restoration services, if the defendant were to be released in the
              community, to determine whether appropriate community restoration services are
              present and available in the community; and

              (B) Provide the court and the parties with recommendations from the consultation.




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      (b) Notwithstanding subsection (2) of this section, if the most serious offense in the charging
      instrument is a person misdemeanor, and the community mental health program director                 Commented [MG21]: Same change as above.
      determines that the community restoration services that would mitigate any risk posed by the
      defendant are present and available in the community, the community mental health program
      director may file notice of the determination with the court. Upon receipt of the notice, the
      court shall order that the superintendent of the state mental hospital or director of the facility
      to which the defendant is committed, within five judicial days:

              (A )Evaluate the defendant to determine whether a hospital level of care is no longer
              necessary due to present public safety concerns, or no longer necessary due to the
              acuity of symptoms of the defendant’s qualifying mental disorder; and

              (B) Provide the court and the parties with recommendations from the evaluation.

      (c) Within 10 judicial days of receiving the recommendations described in paragraph (a) or (b) of
      this subsection, the court shall hold a hearing to determine an appropriate action in accordance
      with ORS 161.370(2)(c) as follows:

              (A) After consideration of the factors and possible actions described in ORS 161.370
              (Determination of fitness to proceed) (2)(c), the consultation or evaluation and any
              recommendations described in paragraph (a) or (b) of this subsection, and any other
              information the court finds to be trustworthy and reliable, the court may continue the
              commitment of the defendant if the court makes written findings that a hospital level of
              care is necessary due to public safety concerns and the acuity of symptoms of the
              defendant’s qualifying mental disorder, and that appropriate community restoration
              services are not present and available in the community.

              (B) If the court does not make the findings described in subparagraph (A) of this
              paragraph, the court shall terminate the commitment and shall set a review hearing
              seven days from the date of the commitment termination for any defendant remaining
              in custody. At the review hearing, the court shall consider all relevant information,
              determine an appropriate action in the case as described in ORS 161.370
              (Determination of fitness to proceed) (2)(c) and enter an order in accordance with the
              defendant’s constitutional rights to due process.

(5)

      (a) If a defendant remains committed under this section, the court shall determine within a
      reasonable period of time whether there is a substantial probability that, in the [foreseeable
      future] time remaining for restoration within the maximum time period established in ORS
      161.370(7),, the defendant will gain or regain fitness to proceed. [However, regardless of the       Commented [GM*22]: Same change as earlier.
      number of charges with which the defendant is accused, in no event shall the defendant be
      committed for longer than whichever of the following, measured from the defendant’s initial
      custody date, is shorter:

              (A) Three years; or                                                                          Commented [GM*23]: This three year limit has been
                                                                                                           removed, and replaced with the new time limits in ORS
                                                                                                           160.370.




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                (B) A period of time equal to the maximum sentence the court could have imposed if the
                defendant had been convicted.

        (b) For purposes of calculating the maximum period of commitment described in paragraph (a)
        of this subsection:

                (A) The initial custody date is the date on which the defendant is first committed under
                this section on any charge alleged in the accusatory instrument; and

                (B) The defendant shall be given credit against each charge alleged in the accusatory
                instrument:

                        (i) For each day the defendant is committed under this section, whether the days
                        are consecutive or are interrupted by a period of time during which the
                        defendant has gained or regained fitness to proceed; and

                        (ii) Unless the defendant is charged on any charging instrument with aggravated
                        murder or a crime listed in ORS 137.700(2), for each day the defendant is held in
                        jail before and after the date the defendant is first committed, whether the days
                        are consecutive or are interrupted by a period of time during which the
                        defendant lacks fitness to proceed.                                                    Commented [GM*24]: All of this language was removed
                                                                                                               from here but included in ORS 160.370 instead, without
        (c)] (b) The superintendent of the state mental hospital or director of the facility to which the      substantive change, so that it will be with the larger
        defendant is committed shall notify the committing court of the defendant’s impending                  discussion of time limits there.
        discharge 30 days before the date on which the superintendent or director is required to
        discharge the defendant under this subsection.

(6)

        (a) All notices required under this section shall be filed with the court and may be filed
        electronically. The clerk of the court shall cause copies of the notices to be delivered to both the
        district attorney and the counsel for the defendant.

        (b) When the committing court receives a notice from the superintendent or director under
        subsection (1) of this section concerning the defendant’s progress or lack thereof, or under
        subsection (5) of this section concerning the defendant’s impending discharge, the committing
        court shall determine, after a hearing if a hearing is requested, whether the defendant presently
        has fitness to proceed.

(7) If at any time the court determines that the defendant lacks fitness to proceed, the court shall
further determine whether the defendant is entitled to discharge under subsection (5) of this section. If
the court determines that the defendant is entitled to discharge under subsection (5) of this section, the
court shall dismiss, without prejudice, all charges against the defendant and:

        (a) Order that the defendant be discharged; or

        (b) Initiate commitment proceedings under ORS 426.070, 426.701 or 427.235 to 427.290.




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